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                      UNITED STATES BANKRUPTCY COURT
12
                      EASTERN DISTRICT OF WASHINGTON
13   In re                                           Chapter 11
14   1 MIN, LLC; HOTEL AT SOUTHPORT,                 Lead Case No. 24-01519
     LLC; and TWELFTH FLOOR, LLC,
                                                     (Jointly Administered)
15                               Debtors.

16   LAN CAI, , et al.,                              Adversary Case No. 25-80007
                          Plaintiffs,
17   v.                                              PLAINTIFFS’ OPPOSITION
                                                     TO AP DEFENDANTS’
18   HOTEL AT SOUTHPORT, LLC, et al.,                MOTION TO DISMISS THE
     LLC,                                            COMPLAINT
19                        Defendants.

20

      Plaintiffs’ Opposition to AP Defendants’ Motion to
      Dismiss the Complaint – Page i

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 1          Plaintiffs Lan Cai, Shujie Chen, Tianran Chen, Weijun Chen, Jie Chu,

 2    Zhaojun Cong, He Cui, Jianying Ding, Jichun Du, Qing Du, Jieying Feng,

 3    Yupeng Gao, Yiran Han, Jinyang Hu, Naixin Hu, Xiao Huang, Junmei Jin, Xin

 4    Meng, Weihong Lu, Yuanyuan Ma, Min Pan, Lei Pei, Hao Qi, Xiao Rong, Juan

 5    Shao, Hui Wang, Jingyi Wang, Yuquan Wang, Zidong Wang, Rongrong Wu,

 6    Zhaohui Xu, Qi Xu, Jie Yan, Ke Yang, Qin Yang, Hongyun Yu, Shuxian Zeng,

 7    Xiaohong Zhang, Ying Zhao, Minbo Zhou, Nan Zhou, Huiqing Zhu, Ziling

 8    Zeng, Luyi Zhang, Jundi Liang, Tao Li, Yun Cai, Hongliang Tang, Jie Tang,

 9    Wenlung Chen, Shi Zhang, Jun Che, Dahe Zhang, Shan Wan, Xiaohong Sun,

10    Yan Lyu a/k/a Yan Lu, Wenyan Wang, Jialin Tian, Rui Tang, Xinhan Lin, Siyu

11    Liu, Jianying Meng, Phuong Nguyen, Yeqing Pan, Xuerong Qi, Qiang Wang,

12    Junli Wei, Yunfei Wu, Hongying Yu, and Dongli Zhang, (collectively

13    “Plaintiffs,” each a “Plaintiff”), by and through undersigned counsel, file this

14    memorandum of law in support of Plaintiffs’ Opposition (“Opposition”) to the

15    Motion to Dismiss the Complaint (“Motion”) filed by debtor-defendants Hotel

16    At Southport, LLC (“Hotel Debtor”), Twelfth Floor, LLC (“Mezz Debtor”) and

17    1 Min, LLC, (“EB-5 Debtor” and, collectively with Hotel Debtor and Mezz

18    Debtor, the “Debtor-Defendants,” each a “Defendant” and WF CREL 2020

19    Grantor Trust (“WF Trust” or the “Mezz Lender” and, together with the Debtor-

20    Defendants, the “AP Defendants”)) and respectfully state as follows:

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 1                              PRELIMINARY STATEMENT

 2            1.    AP Defendants argue that this case presents a “straightforward case

 3    of buyer’s remorse. . .” Mot. ¶ 1. Nothing could be further from the truth. Rather,

 4    Plaintiffs have been the victims of a coordinated effort by the Debtor-

 5    Defendants, Michael Christ and the other non-debtor defendants in the State

 6    Court Litigation1 to defraud Plaintiffs and other EB-5 foreign investors in the

 7    Project, likely due to the fact that Plaintiffs and other EB-5 investors were

 8    viewed as low-cost sources of Project capital more interested in gaining U.S.

 9    citizenship than in recovering their investments in the Project. 2 Plaintiffs were

10

11
      1
          Capitalized terms not otherwise defined shall have the meaning ascribed to
12
      such terms in the Complaint.
13
      2
          The 9th Circuit has repeatedly rejected arguments that EB-5 investments are
14
      not securities even if some investors are primarily motivated by immigration
15
      concerns, rather than profit in the investment. See, e.g., SEC v. Hui Feng, 935
16
      F.3d 721 (9th Cir. 2019) (investments made by EB-5 investors in common
17
      enterprises managed by regional center as part of [EB-5] immigrant investor
18
      program constituted securities under the Securities Act); SEC v. Liu, 754 F.
19
      App’s 505, 507 (9th Cir. 2018) (rejecting argument that EB-5 investments do
20

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 1    promised that their investments—via an EB-5 Loan made to the Hotel Debtor

 2    entity—would be secured by the land under the Project and the Hotel Debtors’

 3    other valuable Project assets. Instead, the EB-5 Loan was stripped of its valuable

 4    collateral by the Hotel Debtor and ultimately subordinated to both a $90 million

 5    loan against the Hotel Debtor and a $40 million loan against the Mezzanine

 6    Debtor.

 7          2.      Had the representations made by the Debtor-Defendants and Mr.

 8    Christ over the course of the financing and development of the Project been

 9    accurate, Plaintiffs would have recovered in these Chapter 11 cases along with

10    all other secured creditors of the Hotel Debtor as secured creditors via the EB-

11    5 Loan. But a coordinated and fraudulent effort by the Debtor-Defendants and

12    Mr. Christ to subordinate the EB-5 Loan without Plaintiffs’ notice or

13    authorization resulted in the EB-5 Loan being fully subordinated to a total of

14    $130 million of senior debt ($90 million against the Hotel Debtor and $40

15    million against the Mezz Debtor). This fraud cannot be permitted to be endorsed

16    by this Court and the Motion must be denied to permit Plaintiffs to pursue

17    allowance of their claims against each Debtor-Defendant.

18
      not constitute securities where the investors’ interest was to obtain visas rather
19
      than profits).
20

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      Dismiss the Complaint – Page 3

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 1          3.      AP Defendants’ claim that this is a simple case of “buyer’s

 2    remorse” may have been plausible if the following risks had been accurately

 3    disclosed to Plaintiffs: (i) that the borrower entity under the EB-5 Loan—the

 4    Hotel Debtor entity that was disclosed in the business plan as the revenue

 5    generating entity—could be replaced without notice to Plaintiffs by an entity

 6    with no revenue two levels subordinated to the original borrower entity, (ii) that

 7    the Project could cost nearly twice as much as initially disclosed (~$134 million

 8    vs. ~$250 million), (iii) that the developer entities would be permitted to add up

 9    to six times as much senior debt as disclosed ($19 million vs. $130 million), and

10    (iv) that the developer entities could withdraw up to $35 million of their own

11    equity from the Hotel Debtor prior to filing these Chapter 11 cases.

12          4.      But none of the Plaintiffs—nor any rational human being—would

13    have invested in a project in which the costs might balloon 2X, the leverage

14    might balloon 6X, and the developer parties would be able to take the full

15    amount of their investments out and leave the foreign investors holding a

16    worthless loan (against a completely different borrower entity) with no chance

17    of recovery. This is no case of buyer’s remorse; this is a case of fraud that must

18    be permitted to be adjudicated on the facts, not dismissed prematurely.

19          5.      The Motion repeatedly fails to treat the factual allegations of the

20    Complaint as true—as they must be treated on a motion to dismiss—and

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 1    fundamentally misapplies applicable 9th Circuit law to the facts of this adversary

 2    proceeding. Defendants’ misleading arguments are most plainly exemplified by

 3    the fact that AP Defendants appear to claim that Plaintiffs “conjured out of thin

 4    air” a $19 million limitation on the amount of construction loans that would be

 5    permitted to subordinate the EB-5 Loan. Mot. ¶ 98. Even a cursory review of

 6    the offering materials attached to Defendants’ own Motion reveals this exact

 7    $19 million amount referenced multiple times in the confidential offering

 8    memorandum used to solicit Plaintiffs’ investment in the project. 3 Plaintiffs

 9    have not conjured their claims and supporting evidence “out of thin air” but

10    have instead asserted compelling claims with particularity relying on undisputed

11
      3
          Mot., Ex. 2, p. 106 (“Project Costs and Capitalization” (“Additional funding
12
      for the project is $19 million in traditional construction loan financing (and or
13
      additional investment by Michal Christ and investors.”))); Id., p. 122 (“Sources
14
      and Uses of Funds” (“Up to $115.5 million of the Project cost will be funded by
15
      a loan from Southport Hotel Eb-5, LP. Additional funding for the project is $19
16
      million in traditional construction loan financing (and/or additional investment
17
      by Michael Christ and investors). Lending institutions have already indicated
18
      their interest in loaning the additional $19 million necessary to fill the gap left
19
      after Eb-5 investors contribute $115.5 million. . .”)).
20

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 1    factual evidence currently available to Plaintiffs. Plaintiffs’ detailed Complaint

 2    far exceeds what is required to survive AP Defendants’ Motion.

 3           6.     AP Defendants’ arguments that Plaintiffs have failed to adequately

 4     plead the elements of alter ago liability similarly fail. Plaintiffs have pled a

 5     multitude of facts supporting a plausible claim that the corporate form of each

 6     Debtor-Defendant in this case was intentionally used to violate or evade a duty

 7     and that disregarding the corporate form is necessary and required to prevent

 8     unjustified loss to the injured parties. Lindsay Credit Corp. v. Skarperud, 33

 9     Wash. App. 766, 770-71 (1983). Moreover, the Complaint is replete with facts

10     establishing almost all of the factors courts in the 9th Circuit look to in assessing

11     whether alter ego claims have been sufficiently pled to survive a motion to

12     dismiss. A non-exhaustive list of these factors includes: (1) evidence of

13     commingling of funds, (2) undercapitalization, (3) unauthorized diversion of

14     funds, (4) treatment of corporate assets as the individual’s own, and (5) failure

15     to observe corporate formalities. See Exxon Mobile Corp. v. Freeman Holdings

16     of Washington, LLC, No. CV-09-0390-EFS, 2011 WL 611705, at *3 (E.D.

17     Wash., Feb. 10, 2011) (discussing various factors courts look to in assessing

18     alter ego arguments at motion to dismiss stage and denying motion to dismiss

19     for failure to sufficiently plead alter-ego). As detailed infra, facts supporting

20     each of these factors have been sufficiently pled in the Complaint such that the

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 1     Court should accept the well-pled alter ego allegations and reject AP

 2     Defendants’ arguments for dismissal on these grounds.

 3          7.      Here, Plaintiffs’ Complaint states that Mr. Christ, via his control

 4    and domination of his alter egos, the Debtor-Defendants, committed fraud on

 5    Plaintiffs by taking at least the following specific actions:

 6               • Beginning in November of 2013, disseminating Offering

 7                  Documents to Plaintiffs with critical material misrepresentations,

 8                  including, inter alia, (i) misrepresenting the identity of the

 9                  Borrower as the Hotel Debtor (which would be quickly replaced

10                  with a completely different, less valuable entity, the EB-5 Debtor);

11                  and (ii) misrepresenting the fact that the amount of senior

12                  construction loans “is” $19 million and that the project cost “is”

13                  $134,571,760, Compl. ¶¶ 32 – 41;

14               • Instructing that Plaintiffs’ investment funds be wired directly to the

15                  General Partner’s bank accounts in Mr. Christ’s name, rather than

16                  the Partnership’s bank accounts where the funds should have been

17                  wired, Compl. ¶ 42;

18               • Failing for more than 6 years to inform Plaintiffs that their EB-5

19                  Loan had been subordinated not by $19 million as originally

20                  disclosed, but by $130 million (including approximately $90

      Plaintiffs’ Opposition to AP Defendants’ Motion to
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 1                  million of senior loans and approximately $40 million of

 2                  mezzanine loans), until finally disclosing such information in

 3                  January 2023 when the loans senior to the EB-5 Loan were already

 4                  in default with an inability to refinance, Compl. ¶¶ 46-47; and

 5               • Withdrawing up to $35.3 million from the project prior to

 6                  repayment of the EB-5 Loan, Compl. ¶¶ 9, 66, 92, 105.

 7    These specific and detailed factual allegations are sufficient to satisfy the

 8    particularity requirements for pleading fraud claims.

 9          8.      AP Defendants’ arguments that Plaintiffs have failed to plausibly

10    allege the remaining causes of action similarly fail. As noted supra, Plaintiffs

11    have plausibly alleged that each Debtor-Defendant is the alter ego of Michael

12    Christ and the General Partner. The General Partner owed and continues to owe

13    fiduciary duties to Plaintiffs as limited partners of the Partnership. Plaintiffs

14    have adequately alleged in the Complaint that each Debtor-Defendant aided and

15    abetted the General Partner in breaching its fiduciary duties to Plaintiffs,

16    specifically by (1) causing the deed of trust securing the EB-5 Loan to be

17    released, thereby removing the collateral promised to Plaintiffs as security for

18    the EB-5 Loan, Compl. ¶¶ 80, 93, (2) withdrawing equity from the project in an

19    amount up to $35.3 million, Compl. ¶ 105, and (3) failing for six years to

20    disclose to Plaintiffs that the EB-5 Loan had been subordinated to a senior loan

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      Dismiss the Complaint – Page 8

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 1    in the amount of $130 million, Compl. ¶ 107. These factual allegations have

 2    been plead with sufficient particularity to satisfy the pleading requirements for

 3    breach of fiduciary duty and aiding and abetting breach of fiduciary duty claims

 4    as asserted in the Complaint.

 5          9.      Ultimately, the Court should reject the underlying theme of AP

 6    Defendants’ Motion, that each of the Debtor-Defendants and the Mezz Lender

 7    are “innocent” third parties and the only potentially culpable party is non-debtor

 8    Michael Christ. Mot. ¶ 13. AP Defendants go so far as to claim that the Debtor-

 9    Defendants have “no affiliation with the partnership or its Offering,” Mot. ¶ 4,

10    a demonstrably untrue assertion given the ownership structure of the Project

11    entities controlled by Michael Christ and the fact that the Hotel Debtor (through

12    Mr. Christ as signatory) signed both the original EB-5 Loan (a loan in which

13    Mr. Christ was signatory for both the original borrower entity and the lender

14    entity) and the subsequent release of the EB-5 Deed of Trust and 2017 Loan

15    Modification and Assignment. The complete control of each of these entities by

16    Mr. Christ is undeniable and AP Defendants should not be permitted to hide

17    behind the fiction that each transaction intended to harm Plaintiffs was an arms-

18    length transaction between unaffiliated entities.

19          10.     Finally, Defendants’ misguided argument that Plaintiffs somehow

20    assumed the risk of the full loss of their investment through the Offering

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 1    Documents must be rejected. Mot. ¶ 3. Here, Plaintiffs were misled and

 2    fraudulently induced to invest in the Project from the minute they received the

 3    initial Offering Documents. Not only were they led to believe that their

 4    investment would be secured by a deed of trust on the land underlying the

 5    Project, but they were led to believe that the borrower entity for the EB-5 Loan

 6    would be a revenue-generating hotel operating company. Instead, what

 7    Plaintiffs got was a quick substitution of their borrower entity with a non-

 8    revenue generating entity two levels subordinated to the hotel debtor, a release

 9    of the deed of trust securing the EB-5 Loan by the Hotel Debtor, a $30+ million

10    equity withdrawal from the project to increase the leverage, and a 6X increase

11    in the leverage on the project they were told to expect.

12          11.     The Debtor-Defendants similarly should not be permitted to escape

13    liability here simply because the Offering Documents disclosed generally that

14    Plaintiffs could lose their investments in the Project. Plaintiffs assumed the risk

15    that their EB-5 Loan to the Hotel Debtor entity could fail if the Hotel Debtor

16    failed to generate sufficient revenue; they did not assume the risk that their EB-

17    5 Loan would be so critically modified as to be given a completely different

18    borrower entity or that the developer entities, including each of the Debtor-

19    Defendants, would be used as instrumentalities of Mr. Christ to ensure that Mr.

20    Christ, the prior senior lenders and the Mezz Lender would get paid before the

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 1    EB-5 Loan received a penny of recovery. Plaintiffs are not arguing that they did

 2    not assume the risk that the Project would fail for ordinary economic reasons.

 3    But this Project did not fail for ordinary economic reasons; it failed because of

 4    purposeful and coordinated financial engineering and fraud orchestrated by Mr.

 5    Christ and perpetrated by each of the Debtor-Defendants.

 6          12.     AP Defendants would have this Court believe Plaintiffs should

 7    have no recourse other than a state court action against a potentially judgment-

 8    proof Mr. Christ. But this cannot be the case; each of the Debtor-Defendants

 9    was a critical instrument of Mr. Christ’s fraud and potentially the only

10    recoverable assets for Plaintiffs reside with the set-aside funds at the Hotel

11    Debtor entity. But for the undisclosed and unauthorized substitution of the EB-

12    5 Loan borrower entity (replacing Hotel Debtor with EB-5 Debtor 1 Min LLC),

13    Plaintiffs would have recovered in these Chapter 11 cases before the Mezz

14    Debtor and before all other unsecured creditors of the Debtor-Defendants, as

15    they were promised when they invested in the Project. Each of the Debtor-

16    Defendants was intimately involved, through Mr. Christ’s control, in

17    perpetrating this fraud and should not be permitted to escape liability as a result

18    of these Chapter 11 cases (also filed at the direction of Mr. Christ). No amount

19    of risk disclosures in the Offering Documents should permit the Debtor-

20    Defendants to escape liability for this coordinated fraudulent conduct.

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 1          13.      The Court should deny the AP Defendants’ Motion in its entirety

 2    and allow the parties to continue to pursue discovery and proceed to a hearing

 3    to adjudicate allowance of Plaintiffs’ claims at the currently scheduled June 10,

 4    2025 hearing.

 5                              FACTUAL BACKGROUND

 6          14.      Plaintiffs incorporate by reference the factual history of this matter

 7    as set forth in the Complaint.

 8          15.      For the convenience of the Court, Plaintiffs summarize the key

 9    factual assertions set forth in the Complaint that provide evidentiary support for

10    Plaintiffs’ claims in the Complaint as follows:

11                • Plaintiffs are seventy (70) foreign investors who each invested

12                   through the USCIS EB-5 Program in a project to develop a 12-

13                   story Hyatt Regency Hotel in Renton, Washington (the “Project”).

14                   Compl. ¶ 5.

15                • State Court Defendant Michael Christ and his directly or indirectly

16                   owned development entities acted as the primary developer of the

17                   Project when it was solicited to foreign investors including

18                   Plaintiffs and through the date of these Chapter 11 cases. At all

19                   relevant times, Mr. Christ owned, controlled and managed each of

20                   the Debtor-Defendants and, through control of State Court

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 1                  Defendant Seattle Family, LP (the “General Partner”), managed

 2                  and controlled Southport Hotel EB-5 LP (the “Partnership”), the

 3                  partnership entity into which each Plaintiff was intended to invest

 4                  to fund the Project. Compl. ¶ 4.

 5             • The Project was solicited to potential foreign investors, including

 6                  Plaintiffs, as an EB-5 qualified investment opportunity whereby

 7                  Plaintiffs and other foreign investors could potentially attain a U.S.

 8                  green card in exchange for a qualifying investment in the Project,

 9                  including the creation of at least 10 jobs per investors as required

10                  by the EB-5 program. Compl. ¶¶ 2-3.

11             • Each Plaintiff signed a subscription agreement and partnership

12                  agreement, agreeing to invest $500,000 and a $50,000

13                  administrative fee in exchange for a membership interest in the

14                  Partnership that would ultimately act as the EB-5 Lender to the

15                  Hotel Debtor entity. Compl. ¶ 41.

16             • At the time each Plaintiff invested, Michael Christ sent instructions

17                  to each Plaintiff to directly wire the investment funds to an account

18                  in the name of the General Partner entity, Seattle Family LP, with

19                  wiring instructions to an account ending in 4066 held in the name

20                  of “Seattle Family LP dba Michael Christ.” Compl. ¶ 42.

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 1             • The Offering Documents represented that the EB-5 Loan would be

 2                  secured by a deed of trust (the “EB-5 Deed of Trust”) on the land

 3                  owned by Hotel Debtor on which the Project would be constructed.

 4                  Compl. ¶ 7.

 5             • The Offering Documents also represented that the EB-5 Deed of

 6                  Trust would only be subordinated to a senior construction loan (or

 7                  additional equity investment) of no more than $19 million. Compl.

 8                  ¶ 8. The Offering Documents stated that “Additional funding for

 9                  the project is $19 million in traditional construction loan financing

10                  (and/or additional investment by Michael Christ and investors).”

11                  (emphasis added) Mot., Ex. 2, p. 122.

12             • In January of 2017, Michael Christ and the Debtor-Defendants

13                  entered into a senior construction loan of $73 million (the “2017

14                  Loan”). Compl. ¶ 53.

15             • Unbeknownst to Plaintiffs, in connection with entering into the

16                  2017 Loan, Hotel Debtor released the deed of trust securing the

17                  EB-5 Loan and caused itself to be replaced as the Borrower entity

18                  under the EB-5 Loan, all without Plaintiffs’ notice or consent.

19                  Critically, this meant that Hotel Debtor was no longer the Borrower

20                  under the EB-5 Loan and the Borrower entity was substituted to be

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 1                  the EB-5 Debtor (1 Min, LLC) pursuant to a Loan Modification

 2                  and Assumption Agreement, dated as of January 27, 2017. Compl.

 3                  ¶ 93; Mot. Ex. 6 (Plan) (“EB-5 Loan Agreement” definition). This

 4                  critical substitution of the EB-5 Loan borrower entity directly

 5                  contradicted all representations regarding the Borrower, its

 6                  revenue generating capabilities and the business plan disclosed to

 7                  Plaintiffs in the Offering Documents. Nowhere in the Offering

 8                  Documents was it disclosed that the EB-5 Loan borrower entity

 9                  could be replaced by a less valuable entity, notwithstanding the fact

10                  that this was a fundamental component of the Project and

11                  Plaintiffs’ decision to invest in the Project.

12             • In December of 2017, the 2017 Loan was refinanced with a larger

13                  construction loan in the amount of $80 million (the “2018 Loan”).

14                  Compl. ¶ 54. In conjunction with entering into the 2018 Loan, the

15                  Mezz Debtor obtained a loan from Argentic Real Estate Investment

16                  LLC in the amount of $25,000,000 (the “Original Mezz Loan”).

17             • In November 2019, the 2018 Loan was again refinanced with a $90

18                  million senior loan (the “2019 Loan”). Compl. ¶ 55.

19                  Simultaneously, the Mezz Debtor obtained a loan from the original

20                  mezzanine lender, AIP US Red Private Real Estate Trust No. 200

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 1                  in the amount of $40,000,000, which refinanced the Original Mezz

 2                  Loan (the “Mezz Loan”). Mot. ¶ 31. As a result of the refinancings

 3                  to enter into the 2019 Loan and the Mezz Loan, the EB-5 Loan was

 4                  effectively subordinated by $130 million as of 2019.

 5             • At the time that Debtor-Defendants, through the control of Mr.

 6                  Christ, entered into the 2019 Loan and Mezz Loan, the Hotel had

 7                  been operating for more than two years, was generating sufficient

 8                  cash flow to satisfy its existing debt load, and had no construction

 9                  costs or other financial obligations that would justify the need for

10                  the increase in outstanding principal amounts for both the senior

11                  loan and Mezz Loan. The 2019 loan refinancings post-dated

12                  construction of the hotel by two years and pre-dated the COVID-

13                  19 pandemic, so neither construction costs nor a pandemic can be

14                  used as plausible justifications for the refinancings. Instead, the

15                  refinancings were intended to permit the Debtor-Defendants to

16                  cover up the fact that Mr. Christ had withdrawn his equity from the

17                  project after subordinating the EB-5 Loan. Each Debtor-Defendant

18                  participated in this scheme, the Hotel-Debtor by executing the loan

19                  agreements for the 2019 Loan, the Mezz Debtor by executing the

20                  loan agreements for the Mezz Loan, and the EB-5 Debtor, by

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 1                  agreeing to further subordinate the EB-5 Loan to a total of at least

 2                  $130 million of debt.

 3             • Michael Christ, via his control of the Debtor-Defendants, is

 4                  believed to have orchestrated a transfer of funds out of the Hotel

 5                  Debtor’s bank accounts to his personal accounts in an amount up

 6                  to $35.3 million. Compl. ¶¶ 9, 65. The exact dates and amounts of

 7                  these transfer(s) are unknown to Plaintiffs but are expected to be

 8                  ascertainable through discovery.

 9             • Plaintiffs were not informed by any developer party, including Mr.

10                  Christ or any of the Debtor-Defendants, until 2023 of the fact that

11                  $130 million in loans senior to the EB-5 Loan had been added to

12                  the Hotel Debtor’s balance sheet or that such senior loans would

13                  subordinate the EB-5 Loan, even though Mr. Christ and the

14                  Debtor-Defendants had begun to add these senior loans in 2017.

15                  Compl. ¶ 46.

16             • Plaintiffs were informed in 2023 that the $130 million of additional

17                  loan financing senior to the EB-5 Loan was necessary due to

18                  “unexpected cost increases” in developing the Project and because

19                  Defendants were required to upgrade the original hotel design to

20                  satisfy requirements of the Hyatt Regency brand. Compl. ¶ 58.

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 1                • Hyatt Regency’s own documents indicate that the maximum cost

 2                   to develop a 500 room Hyatt Regency Hotel as of 2017 should be

 3                   no more than $144.59 million, yet the 347 room hotel at issue in

 4                   this case cost approximately $250 million to build. Compl. ¶ 58-

 5                   62.

 6                • The Hotel Debtor ultimately defaulted on the EB-5 Loan and filed

 7                   these Chapter 11 cases along with the other two Debtor-

 8                   Defendants.

 9          16.      On September 20, 2024, these Chapter 11 Cases were filed. A joint

10    plan of reorganization (the “Plan”) was confirmed on November 27, 2024. The

11    Plan established a reserve amount held at the Hotel Debtor entity for possible

12    satisfaction of Plaintiffs’ claims in this adversary proceeding in the amount of

13    $32.45 million. Compl. ¶ 22.

14          17.      Plaintiffs filed a proof of claim in the Chapter 11 Cases on

15    November 4, 2024, which was supplemented to reference this adversary

16    proceeding complaint and to include all Plaintiffs named in the Complaint (the

17    “Proof of Claim”).

18          18.      Plaintiffs commenced this Adversary Proceeding on January 31,

19    2025 by filing a Complaint seeking, inter alia, allowance of their Proof of Claim

20    against each Debtor-Defendant. Compl. at 31-32.

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 1          19.     On February 19, 2025, Defendants filed their Motion to Dismiss,

 2    arguing that the Complaint fails to state a claim upon which relief can be granted

 3    pursuant to Federal Rule of Civil Procedure 12(b)(6), made applicable to this

 4    proceeding by Federal Rule of Bankruptcy Procedure 7012.

 5                             APPLICABLE STANDARDS

 6          20.     The Federal Rules of Civil Procedure apply to bankruptcy

 7    adversary proceedings through the Bankruptcy Rules of Procedure.

 8    Specifically, Bankruptcy Rule 7012 incorporates Civil Rule 12(b)(6) motions to

 9    dismiss. In re Consol. Pioneer Mortg. Entities, 166 F.3d 342, 344 (9th Cir.

10    1999). Similarly, Bankruptcy Rule 7008 incorporates Civil Rule 8, which

11    governs general pleading standards, and Bankruptcy Rule 7009 incorporates

12    Civil Rule 9, which applies to fraud claims. In re Daewoo Motor Am., Inc., 471

13    B.R. 721, 732 (C.D. Cal. 2012).

14          21.     In evaluating a motion to dismiss under Rule 12(b)(6), the court

15    must accept all well-pleaded factual allegations in the complaint as true and

16    construe them in the light most favorable to the plaintiff. Bell Atl. Corp. v.

17    Twombly, 550 U.S. 544, 555-56 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678

18    (2009); Holden v. Hagopian, 978 F.2d 1115, 1118 (9th Cir. 1992). The

19    complaint need only contain “a short and plain statement of the claim showing

20    that the pleader is entitled to relief,” Fed. R. Civ. P. 8(a)(2), and need not contain

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 1    detailed factual allegations. Twombly, 550 U.S. at 555. A claim is facially

 2    plausible when the plaintiff pleads factual content that allows the court to draw

 3    the reasonable inference that the defendant is liable for the misconduct alleged.

 4    Iqbal, 556 U.S. at 678; Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th Cir.

 5    2009).

 6          22.     For fraud claims, Rule 9(b) requires that “a party must state with

 7    particularity the circumstances constituting fraud or mistake,” although “malice,

 8    intent, knowledge, and other conditions of a person's mind may be alleged

 9    generally.” Fed. R. Civ. P. 9(b); In re GlenArbor Partners, LLC, 582 B.R. 843,

10    857 (Bankr. E.D. Cal. 2018). A pleading “is sufficient under Rule 9(b) if it

11    identifies ‘the circumstances constituting fraud so that the defendant can prepare

12    an adequate answer from the allegations.’” Neubronner v. Milken, 6 F.3d 666,

13    673 (9th Cir. 1993). The pleading must state “enough fact[s] to raise a

14    reasonable expectation that discovery will reveal evidence of [the misconduct

15    alleged].” Cafasso, U.S. ex rel. v. General Dynamics C4 Systems, Inc., 637 F.3d

16    1047, 1055 (9th Cir. 2011)

17          23.     In the bankruptcy context, the Ninth Circuit has consistently held

18    that creditors need not prove their case at the pleading stage but rather must only

19    provide sufficient notice of the claims against the debtor. In re Khachikyan, 335

20    B.R. 121, 125 (9th Cir. BAP 2005). Moreover, the Ninth Circuit has held that

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 1    courts should be particularly reluctant to dismiss complaints in the bankruptcy

 2    context. In re Rogstad, 126 F.3d 1224, 1228 (9th Cir. 1997) (noting the liberal

 3    standards for pleading in bankruptcy proceedings).

 4                                      ARGUMENT

 5    I.    Plaintiffs Have Asserted Sufficient Facts to Satisfy Applicable Alter
            Ego Pleading Requirements
 6
            A.      Plaintiffs Have Adequately Alleged That the Debtor-
                    Defendants Are Alter Egos of Michael Christ and the EB-5
 7                  Lender

 8          24.     The Ninth Circuit has held that the alter ego doctrine can be applied

 9    to pierce the corporate veil in bankruptcy when necessary to prevent fraud or

10    injustice. Towe Antique Ford Found. v. IRS, 999 F.2d 1387, 1390-91 (9th Cir.

11    1993). To successfully pierce the corporate veil, a plaintiff generally must

12    demonstrate that (i) the corporate form was intentionally used to violate or evade

13    a duty and (ii) the piercing is necessary to prevent unjustified loss to the injured

14    party. Lindsay Credit Corp. v. Skarperud, 33 Wash. App. 766, 770-71 (1983).

15          25.     “Although there is no precise litmus test for determining when

16    there is unity of interest and ownership for purposes of alter-ego liability, the

17    following     factors    are   considered    relevant:   co-mingling    of   funds,

18    undercapitalization, unauthorized diversion of funds, treatment of corporate

19    assets as the individual’s own, and failure to observe corporate formalities.”

20    Polaris Indus. Corp. v. Kaplan, 747 P.2d 884, 887 (Nev. 1987). Because no one

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 1    factor is determinative, a court’s inquiry is fact-intensive and must rely heavily

 2    on the particular circumstances of each case. See Mesler v. Bragg Mgmt. Co.,

 3    702 P.2d 601, 606 (Cal. 1985). Allegations of two or three factors have been

 4    held sufficient to defeat a 12(b)(6) motion to dismiss. See e.g., Axon Solutions,

 5    Inc. v. San Diego Data Processing Corp., No. 09 CV 2543 JM (RBB), 2010

 6    WL 1797028, at *3 (S.D. Cal., May 4, 2010) (denying motion to dismiss alter-

 7    ego claim when the plaintiff pled commingling of funds, undercapitalization,

 8    and representation by one entity that is liable for the other’s debts).

 9          26.     There should be no doubt that Plaintiffs have satisfied the two

10    prong test of whether the corporate veil can potentially be pierced or disregarded

11    here. First, Plaintiffs have plausibly alleged in multiple instances in the

12    Complaint that the corporate form was intentionally used to violate or evade a

13    duty. Lindsay Credit Corp., 33 Wash. App. 766, 770 (1983). Mr. Christ and the

14    General Partner, through the domination and control of each of the Debtor-

15    Defendants used each of the Debtor-Defendants as an instrumentality to violate

16    their duties to the Plaintiffs, including, inter alia, fiduciary duties of loyalty and

17    care. Specifically, the Complaint alleges that Mr. Christ intentionally used the

18    Debtor-Defendants and the General Partner to (1) make material representations

19    to induce Plaintiffs to invest in the Project, (2) conceal his intent to take funds

20    out of the Project and replace the withdrawn funds with loans senior to the EB-

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 1    5 Loan, (3) misuse Project funds for purposes unrelated to the Project, (4)

 2    release the EB-5 Deed of Trust, and (5) violate books and records obligations

 3    owned to Plaintiffs. Compl. ¶ 80. Second, Plaintiffs have plainly established that

 4    piercing the corporate veil is necessary to prevent unjustified loss to the injured

 5    party. Without an ability to recover against the Hotel Debtor’s assets—the exact

 6    assets that were promised to act as collateral for the EB-5 Loan when Plaintiffs

 7    invested—Plaintiffs would be potentially left with no recovery and valueless

 8    claims against Mr. Christ in state court. Recovering against the Debtor-

 9    Defendants is critical because Plaintiffs’ investment funds were (mis)used to

10    construct the Project, then Plaintiffs’ collateral was removed and Plaintiffs’ only

11    source of recovery was a valueless EB-5 Loan against a parent company (1 Min

12    LLC) twice removed from the originally promised source of Plaintiffs’

13    collateral. To endorse this fraudulent activity and permit the Debtor-Defendants

14    to escape liability to Plaintiffs because the Debtor-Defendants unilaterally

15    stripped Plaintiffs’ source of collateral and recovery (without consent or

16    authorization) would be a grave injustice for Plaintiffs. This fact pattern

17    demonstrates the exact scenario in which the corporate form must be

18    disregarded to prevent injustice.

19          27.     With respect to the detailed factors that courts look to in assessing

20    whether there is plausible evidence to support an alter ego theory of liability,

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 1    the Complaint pleads factual allegations with particularity to satisfy the factors

 2    courts look to in assessing whether alter ego claims have been pled sufficiently

 3    to survive a motion to dismiss. First, Plaintiffs have pled that Mr. Christ,

 4    through various transactions among his directly or indirectly owned Project

 5    entities, has left the Debtor-Defendants undercapitalized. This is most plainly

 6    evidenced by the fact that the Debtor-Defendants filed for Chapter 11

 7    protection, prima facie evidence of undercapitalization, and further evidenced

 8    by the fact that Mr. Christ is alleged to have withdrawn funds from one or more

 9    of the Debtor-Defendants prior to the Petition Date. Compl. ¶¶ 65-66, 105 (“If

10    the Defendants hadn’t taken the $35.3 million funds from the Project, artificially

11    inflated the construction budget, and replaced the withdrawn equity funds with

12    senior loans, they would not have defaulted on the senior loans and would not

13    be at risk of foreclosure.”). Second, Plaintiffs have plausibly pled that Mr. Christ

14    has commingled funds and failed to treat the General Partner and Partnership as

15    separate corporate entities by diverting Plaintiffs’ investment funds

16    immediately to his own bank account at the General Partner entity, rather than

17    the Partnership bank account that was the appropriate entity at which Plaintiffs’

18    investments should have been held prior to the Partnership making the EB-5

19    Loan to the Hotel Debtor. Compl. ¶¶ 42, 82. Moreover, the fact that the original

20    Borrower under the EB-5 Loan, Hotel Debtor, was replaced with no notice to

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 1    Plaintiffs by the EB-5 Debtor, 1 Min, LLC, an entity with no revenue generation

 2    abilities and wholly reliant on equity distributions from both Hotel Debtor and

 3    Mezz Debtor, is itself evidence of disregard of the separateness of corporate

 4    entities. Finally, Mr. Christ’s withdrawal of his equity from the Project

 5    companies also qualifies as an “unauthorized diversion of funds” and/or

 6    “treatment of corporate assets as the individual’s own,” two of the other factors

 7    that courts look to in assessing whether alter ego claims have been sufficiently

 8    pled. Plaintiffs submit that these facts alone are sufficient as a matter of law to

 9    overcome AP Defendants’ arguments that Plaintiffs have failed to adequately

10    plead their alter ego claims.

11          28.     Finally, Plaintiffs note that AP Defendants’ argument that

12    Plaintiffs have not “explained why they have failed to first litigate their claims

13    against Mr. Christ or the General Partner before invoking the extraordinary

14    remedy of corporate disregard to attempt to hold unaffiliated parties liable for

15    his purported torts,” Mot. ¶ 61, is a stunning statement given the fact that

16    Plaintiffs had commenced state court litigation against Michael Christ and the

17    other Non-Debtor parties prior to these Chapter 11 Cases and were only forced

18    to pursue these actions against the Debtor-Defendants in this Court because the

19    Debtor-Defendants chose to file these Chapter 11 cases. It is nearly

20    incomprehensible that AP Defendants are purportedly claiming ignorance as to

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 1    why Plaintiffs would pursue these claims in this Court against the Debtor-

 2    Defendants when AP Defendants are well aware that the only reason these

 3    claims are not being pursued against the Debtor-Defendants in state court is

 4    because the Debtor-Defendants chose to file these Chapter 11 cases and

 5    therefore force Plaintiffs to pursue these claims in this Court. Such arguments

 6    should be ignored entirely.

 7          B.      The Mezz Lender Is Getting Exactly the Benefit of Its Bargain
                    and Cannot Plausibly Argue That It Is Prejudiced by The
 8                  Court Allowing Claims Against Any of the Debtor-Defendants

 9          29.     AP Defendants next mistakenly argue that because Plaintiffs assert

10    no claims against Mezz Lender in the Complaint, Mezz Lender is therefore an

11    “innocent third party” that is being prejudiced or harmed by the delay in

12    distribution of the Hotel Debtors’ reserve funds. Mot. ¶¶ 63-66. AP Defendants

13    cite 9th Circuit Case law in which some courts have held that reverse veil

14    piercing is not appropriate where “innocent third parties” would be prejudiced.

15    Mot. ¶ 64. Tellingly, however, AP Defendants cite only one bankruptcy case for

16    this proposition, a case in which the bankruptcy court permitted veil piercing

17    under an alter ego theory. In re Brugnara Props VI., 606 B.R. 371 (Bankr. N.D.

18    Cal. 2019). AP Defendants cite no bankruptcy case similar to the present action

19    in which a bankruptcy court rejected or disallowed claims with veil piercing or

20    reverse veil piercing elements because an “innocent” third party creditor would

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 1    potentially be delayed in receiving payment in the Chapter 11 cases.

 2             30.   Plaintiffs submit that AP Defendants’ argument that veil piercing

 3    claims cannot survive a motion to dismiss if there is an “innocent creditor” can

 4    be dismissed outright because AP Defendants’ argument relies on a

 5    fundamentally flawed interpretation of bankruptcy law. AP Defendants argue

 6    that Plaintiffs are intentionally harming Mezz Lender by “diverting sales

 7    proceeds owed to the Mezz Lender, as secured lender.” Mot. ¶ 65. But this

 8    argument relies on a fundamental misunderstanding of Chapter 11 law and the

 9    facts of this case. Mezz Lender is not “owed” anything by Hotel Debtor, the

10    entity where the $32.45 million disputed claims reserve is held. Mezz Lender,

11    in its distinct role as senior lender to the Hotel Debtor has already been paid in

12    full from the assets of Hotel Debtor. While the Mezz Lender happens to have

13    acted as a lender to both the Hotel Debtor and Mezz Debtor, there should be no

14    conflation of these two distinct roles.4

15
      4
          As noted supra, as of the Petition Date, the same entity owned the Senior Loan
16
      and the Mezzanine Loan. But this ownership overlap should not be mistaken to
17
      permit the Mezz Lender to argue that it is being harmed as a creditor of the Mezz
18
      Debtor entity simply because the claims allowance process at the Hotel Debtor
19
      entity has not concluded.
20

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 1          31.     Mezz Lender, in its role as mezzanine lender to the Mezz Debtor

 2    is only “owed” funds available to the Mezz Debtor entity, if any, after all

 3    allowed claims against the Hotel Debtor have been satisfied in full. This

 4    fundamental fact is the result of both the organizational structure of the Debtor-

 5    Defendants (the Mezz Debtor owns the equity of the Hotel Debtor and therefore

 6    any distributions to the Mezz Debtor entity require allowance and distribution

 7    or disallowance of all non-equity claims at the Hotel Debtor entity) and the

 8    absolute priority rule of the Bankruptcy Code. 11 U.S.C. § 1129(b)(2). Mezz

 9    Debtor’s argument, taken to its logical conclusion, is essentially that veil

10    piercing (or reverse veil piercing) claims can never be brought in a multi-debtor

11    chapter 11 case because such claims could potentially delay payment to equity

12    holders or creditors of another debtor in the same Chapter 11 case. None of the

13    cases cited by AP Defendants regarding the “innocent party” doctrine stand for

14    this proposition, nor is this a plausible application of this doctrine to these

15    Chapter 11 cases.

16          32.     Mezz Lender agreed to make a loan to the Mezz Debtor, knowing

17    full well that all claims against the Hotel Debtor entity would need to be satisfied

18    before the equity owner of Hotel Debtor (the Mezz Debtor) would receive any

19    distribution that could potentially be applied to satisfy the Mezz Loan. The

20    additional risk that the Mezz Debtor knowingly assumed (and received a higher

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 1    interest rate for) is exactly the risk that the Hotel Debtor would have additional

 2    claims or liabilities that would de facto subordinate the recovery of the Mezz

 3    Lender’s mezzanine loan to the Mezz Debtor. The fact that these claims are

 4    potentially held by Plaintiffs does not in any way make the Mezz Lender more

 5    “innocent” or somehow permit the Mezz Lender to claim that it has not received

 6    the benefit of its bargain in making a structurally subordinated loan. Such

 7    arguments should be dismissed outright.

 8           33.    This argument is especially ironic given the fact that the EB-5 Loan

 9    itself should have been senior to the Mezz Loan at all points in time, but for the

10    unauthorized release of the Deed of Trust and replacement of the Hotel Debtor

11    as Borrower with the EB-5 Debtor. If any party is harmed or prejudiced in this

12    case, it is plainly Plaintiffs, not the Mezzanine Lender who knowingly invested

13    in a subordinate position (and received a higher return on its capital in exchange

14    for this risk).

15     II.   Plaintiffs Have Adequately Alleged Facts to Plausibly Support Their
             Fraud Claims
16
             A.     Each Debtor Defendants’ Role in the Alleged Fraudulent
17                  Scheme Has Been Identified

             34.    AP Defendants next argue that Plaintiffs have failed to allege facts
18
      to plausibly support their fraud claims, asserting that the Complaint lacks
19
      individualized factual allegations of fraud. However, as AP Defendants’ own
20

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 1    Motion admits, 9th Circuit courts have permitted pleadings to survive a motion

 2    to dismiss so long as the Complaint identifies the applicable “role of each

 3    defendant in the fraudulent scheme.” Mot. ¶¶ 72-73 (citing United States ex rel.

 4    Pecanic v. Sumitomo Elec. Interconnect Prods., No. 12-cv-602, 2013 U.S. Dist.

 5    LEXIS 27913, at *14 (S.D. Cal., Feb 28, 2013).

 6          35.     Here, each Debtor-Defendants role in the fraudulent scheme is

 7    identified in the Complaint. The Hotel Debtor entity was the original borrower,

 8    was disclosed in the Offering Documents as the entity that would be the

 9    Borrower for the EB-5 Loan, and caused or permitted itself to release the

10    original deed of trust securing the EB-5 Loan. Compl. ¶ 5 (identifying Hotel

11    Debtor as the original borrower), ¶ 38 (“Among other things, the Plaintiffs were

12    promised that their subscription funds would be loaned to the Borrower [Hotel

13    Debtor] to develop the Project . . .). 1 Min, LLC is disclosed in the Complaint

14    as the 100% owner of Debtor-Defendant Twelfth Floor, LLC. Compl. ¶¶ 13-14.

15    1 Min, LLC was ultimately replaced as the Borrower under the EB-5 Loan,

16    without any notification, consent or authorization of Plaintiffs. Twelfth Floor,

17    LLC is the Mezzanine Debtor and was created to act as a Mezzanine Debtor,

18    senior to the EB-5 Loan, and therefore further structurally subordinate the

19    potentially recovery for the EB-5 Loan, and therefore, Plaintiffs.

20          36.     In addition, to the degree the Court believes each defendant’s role

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 1    in the fraudulent scheme must be pled with additional particularity, Plaintiffs

 2    will provide such additional particularity as discovery develops via an amended

 3    complaint, as discussed infra.

 4          B.      Each Element of Washington Common Law Fraud Has Been
                    Alleged
 5
            37.     AP Defendants next argue that Plaintiffs have failed to adequately
 6
      and plausibly allege the elements of fraud under Washington common law. Mot.
 7
      ¶¶ 75-78. But this is not so. Plaintiffs have plausibly satisfied each of the
 8
      elements of fraud under Washington state law.
 9
            38.     To state a claim for common-law fraud in Washington State, a
10
      plaintiff must allege “(1) representation of an existing fact; (2) materiality; (3)
11
      falsity; (4) the speaker’s knowledge of its falsity; (5) intent of the speaker that
12
      it should be acted upon by the plaintiff; (6) plaintiff’s ignorance of its falsity;
13
      (7) plaintiff’s reliance on the truth of the representation; (8) plaintiff’s right to
14
      rely upon it; and (9) damages suffered by the plaintiff.” Adams v. King County,
15
      164 Wash. 2d 640, 192 P.3d 891, 902 (2008).
16
            39.     Here, plaintiffs have plausibly satisfied each of these elements
17
      through their plain allegations that Debtor-Defendants made materially false
18
      representations in the Offering Documents. See, e.g., Compl. ¶¶ 38-41
19
      (summarizing specific representations made in the Offering Documents and
20

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 1    stating that Plaintiffs each relied on these representations and invested $550,000

 2    each in reliance on these representations).

 3          40.     As would subsequently be revealed to Plaintiffs more than six

 4    years later, the material representations made in the Offering Documents were

 5    false or misleading, including the facts that the EB-5 Loan would be (1) made

 6    to the Hotel Debtor as “Borrower;” (2) be secured by a deed of trust on the land

 7    owned by Hotel Debtor, and (3) be subordinated to $19 million at most of

 8    additional senior loans.

 9          41.     These facts alone plausibly satisfy each of the elements of common

10    law fraud under Washington State law. Debtor-Defendants (1) represented an

11    existing fact (the terms of the EB-5 investment, including the purported

12    borrower and capital structure); (2) the facts were material (no investor would

13    invest without knowing these terms); (3) the facts were false (as evidenced by

14    the significant changes to these terms, including replacement of the Borrower

15    entity); (4) the Debtor-Defendants, including Hotel-Debtor, EB-5 Debtor and

16    Mr. Christ knew these facts to be false; (5) the Debtor-Defendants intended for

17    Plaintiffs to act on the false facts to induce Plaintiffs’ investments in the Project;

18    (6) Plaintiffs did not and could not have known these material facts were false;

19    (7) Plaintiffs each relied on these representations in making their individual

20    investment decision; (8) Plaintiffs had a right to rely on these material

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 1    representations; and (9) Plaintiffs each suffered $550,000 in direct damages as

 2    a result of the loss of their investments.

 3          C.      Plaintiffs Have Stated a Claim for Securities Fraud under
                    RCW § 21.20.010
 4
            42.     Count IV of the Complaint asserts a cause of action against each of
 5
      the Debtor-Defendants for violations of Washington State securities laws.
 6
      Compl. ¶¶ 117-29. RCW 21.20.010. AP Defendants argue that Plaintiffs have
 7
      failed to plausibly allege the elements of state law securities claims, including
 8
      that no Debtor-Defendant could have been a “seller of securities” as defined by
 9
      the Washington Code. Mot. ¶¶ 80-81. AP Defendants are incorrect, as the
10
      Complaint satisfies each of the elements required to plausibly assert a
11
      Washington state law securities claim.
12
            43.     RCW Section 21.20.010 prohibits any person “in connection with
13
      the offer, sale or purchase of any security, directly or indirectly: (1) to employ
14
      any device, scheme, or artifice to defraud; (2) to make any untrue statement of
15
      material fact or to omit to state a material fact necessary in order to make the
16
      statement made, in the light of the circumstances under which they are made,
17
      not misleading; or (3) to engage in any act, practice or course of business which
18
      operates or would operate as a fraud or deceit upon any person. RCW 21.20.010.
19
            44.     As noted supra, FN 2, there is no doubt that EB-5 investments such
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 1    as Plaintiffs’ investments here, constitute “securities” for purposes of federal

 2    and state securities laws. SEC v. Hui Feng, 935 F.3d 721 (9th Cir. 2019); Yanlu

 3    Liu v. Great Ocean Capital Holding, LLC, 2018 WL 4960231 (Wash. App. Div.

 4    1, 2018) (applying Washington State Securities Act to EB-5 investment and

 5    rejecting federal securities laws “field preemption” argument).

 6           45.    Here, Plaintiffs have alleged multiple plausible material

 7    misrepresentations in the Offering Documents, including the identity of the EB-

 8    5 Loan borrower, the amount of additional permitted senior debt, and the

 9    potential cost of the Project. These facts are not “vague allegations” as AP

10    Defendants allege, Mot. ¶ 80, but concrete and specific allegations concerning

11    material facts that unequivocally informed Plaintiffs’ decisions to invest in the

12    Project. Moreover, insofar as Plaintiffs have plausibly alleged that each Debtor-

13    Defendant is the alter-ego of Mr. Christ and the other non-debtor State Court

14    Defendant entities, Plaintiffs need not allege that each Debtor-Defendant

15    individually directly solicited the sale of such securities.

16    III.   Plaintiffs’ Remaining Claims Have Each Been Adequately Pled

17           A.     Plaintiffs Have Adequately Pled Breach of Fiduciary Duty and
                    Related Aiding and Abetting Breach of Fiduciary Duty Claims
18
             46.    AP Defendants’ argument that Plaintiffs have failed to adequately
19
      allege breach of fiduciary duty by Debtor-Defendants overlooks Plaintiffs’
20

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 1    plausible allegation that each Debtor-Defendant has acted as the alter-ego of

 2    Mr. Christ and the General Partner and therefore can be held liable as an alter

 3    ego for Mr. Christ and/or the General Partner, including for such entities’ breach

 4    of fiduciary duty to Plaintiffs.

 5          47.     Under Ninth Circuit law, to state a claim for breach of fiduciary

 6    duty, a plaintiff must allege: (1) the existence of a fiduciary duty; (2) breach of

 7    that duty; and (3) damage proximately caused by the breach. Perkumpulan

 8    Investor Crisis Center Dressel--WBG v. Regal Financial Bancorp, Inc., 781 F.

 9    Supp. 2d 1098, 1114 (W.D. Wash. 2011).

10          48.     Here, the Complaint plausibly alleges that each Debtor-Defendant,

11    as alter ego of the General Partner and Mr. Christ, owed fiduciary duties to

12    Plaintiffs. Specifically, the Complaint alleges that the Debtor-Defendants owed

13    duty of loyalty and care as promoters of the Project. Compl. ¶¶ 99-101. The

14    Complaint alleges that Debtor-Defendants each breached their fiduciary duties

15    through taking the following acts: (1) withdrawing more than $35 million of

16    equity from the Project, (2) releasing the EB-5 Deed of Trust, and (3) making

17    material misstatements in the Offering Documents regarding the cost of the

18    Project,

19          49.     Relatedly, Plaintiffs have satisfied the pleading standards in

20    asserting their claims for aiding and abetting a breach of fiduciary duty. The

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 1    elements of aiding and abetting a breach of fiduciary duty under Washington

 2    law require a showing that the defendant “knows that the other’s conduct

 3    constitutes a breach of duty and gives substantial assistance or encouragement

 4    to the other.” Brashkis v. Hyperion Capital Group, LLC, No. 3:11–CV–05635

 5    RBL, 2011 WL 6130787, at *3 (W.D. Wash., Dec. 8, 2011).

 6          50.     Here, the Complaint alleges that each Debtor-Defendant had full

 7    knowledge of the ongoing breaches of fiduciary duty by the General Partner and

 8    significantly aided the General Partner in breaching the fiduciary duties. Compl.

 9    ¶ 115. Specific examples of this aiding and abetting the breach of fiduciary duty

10    as incorporated by reference, Compl. ¶ 111, include instructing the wiring

11    instructions for Plaintiffs’ investment in the Project to be sent directly to the

12    General Partner’s bank account, Compl. ¶ 42, and releasing the EB-5 Deed of

13    Trust, directly contradicting the promises made in the Offering Documents.

14    Compl. ¶¶ 38, 80.

15          B.      Plaintiffs Have Adequately Pled Facts to Support a Claim
                    Under the Washington Consumer Protection Act
16
            51.     Plaintiffs have satisfied the elements to plausibly plead a claim
17
      under the Washington Consumer Protection Act (the “CPA”). RCW 19.86.020.
18
      Claims under the WCPL generally require a plausible showing of five (5)
19
      elements: (1) an unfair or deceptive act or practice, (2) occurring in trade or
20

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 1    commerce, (3) public interest impact, (4) injury to plaintiffs in their business or

 2    property, and (5) causation. Hangman Ridge Training Stables, Inc. v. Safeco

 3    Title Ins., 105 Wash. 2d 778, 785 (1986).

 4          52.     ‘AP Defendants’ argument that Plaintiffs have failed to “make any

 5    specific factual allegations of misconduct” against the Debtor-Defendants is

 6    flatly contradicted by the Complaint. Not only does Count VI of the Complaint

 7    incorporate by reference all of the factual allegations set forth in the Complaint,

 8    Compl. ¶ 134, but Count VI includes specific factual allegations supporting the

 9    CPA claim. These include allegations that the Debtor-Defendants made material

10    misrepresentations, concealed their plans to refinance the Project and release

11    the deed of trust securing the EB-5 Loan and thereby directly caused no less

12    than $550,000 in damages to each Plaintiff. Compl. ¶¶ 135-45.

13          53.     AP Defendants are also incorrect on the law. AP Defendants

14    appear to argue that insofar as Plaintiffs’ investments were a “private transaction

15    for accredited investors through the EB-5 Program,” that the “public interest”

16    prong of the Washington CPA cannot be met. Mot. ¶ 96. But courts applying

17    the Washington CPA have expressly held that a plaintiff alleges a per se effect

18    on the public interest by alleging that a defendant violated a statute which

19    contains a legislative declaration or judicial construction of impact upon the

20    public interest. Robinson v. Conner, 2010 WL 11565185, at *4 (W.D. Wash.

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 1    2010) (citing Hangman Ridge Training Stables, Inc. v. Safeco Title Ins. Co., 719

 2    P.2d 531, 538 (Wash. 1986)). Here, Plaintiffs have plausibly alleged a violation

 3    of the Washington State Securities Act, Compl. Count IV, ¶¶ 117-129, an Act

 4    which courts have held contains a judicial finding of public interest. Robinson

 5    v. Conner, 2010 WL 11565185, at *4 (W.D. Wash. 2010). Therefore, the

 6    Washington CPA claim cannot be dismissed for failing to satisfy the “public

 7    interest impact” element, as AP Defendants argue.

 8    IV.   The Central Factual Allegations Underlying Plaintiffs’ Claims Are
            Supported by the Factual Record, Not “Flatly Contradicted” As AP
            Defendants Assert
 9
            54.     AP Defendants go so far as to state that Plaintiffs “fail to identify
10
      any specific communication, whether written or oral, in which any Defendant
11
      (or even Mr. Christ or the General Partner) claimed that the subordination would
12
      be capped at $19 million.” Mot. ¶ 12. While Plaintiffs did not use the verbatim
13
      term “cap” or “capped” in the Complaint, paragraph 39 of the Complaint cites
14
      written statements in the Offering Documents, including the statement that
15
      “[a]dditional funding for the project is $19 million in traditional construction
16
      loan financing [] and/or additional investment by Michael Christ and investors.”
17
      Compl. ¶ 39 (emphasis added). This specific citation to specific disclosures in
18
      the Offering Documents is more than enough particularity to satisfy the pleading
19
      standards required to survive a motion to dismiss and flatly contradicts AP
20

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 1    Defendants’ assertion that Plaintiffs have failed to identify specific written

 2    references to the $19 million amount.

 3          55.     Assuming arguendo that the Court accepts AP Defendants’

 4    argument that the Offering Document language does not provide an express cap

 5    or limit of $19 million on additional senior loans (notwithstanding the fact that

 6    the Offering Documents stated that “[a]dditional funding for the project is $19

 7    million . . .), Plaintiffs’ assertions that they were lead to believe that $19 million

 8    was the maximum amount of additional debt that would potentially

 9    subordinated the EB-5 Loan by the Offering Documents and other

10    communications from Mr. Christ, the State Court Defendants and the Debtor-

11    Defendants is clearly a factual issue that must be tested through discovery.

12    Dismissing any cause of action because the language regarding the $19 million

13    in senior loans is potentially ambiguous would be inappropriate given the

14    potential additional facts regarding this representation.

15     V.   Dismissal, If Granted, Should Afford Plaintiffs the Opportunity to
            Replead
16          56.     If the Court were to conclude that Plaintiffs’ claims were

17    insufficiently pled, Plaintiffs respectfully request that any dismissal be without

18    prejudice and that they be afforded an opportunity to replead. “Even if the

19    pleadings were in some respects deficient, Rule 15(a) (applicable to adversary

20    proceedings, Bankruptcy Rule 7015) provides that ‘leave [to amend pleadings]

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 1    shall be freely given when justice so requires.’” In re Rogstad, 126 F.3d 1224,

 2    1228 (9th Cir. 1997) (citing Fed. R. Bankr. P. 7015). This policy is “to be

 3    applied with extreme liberality.” Eminence Capital, LLC v. Aspeon, Inc., 316

 4    F.3d 1048, 1051 (9th Cir. 2003); see also Vess v. Ciba–Geigy Corp. USA, 317

 5    F.3d 1097, 1107 (9th Cir. 2003) (dismissals under Rule 9(b) are “functional[ly]

 6    equivalent” to dismissals under Rule 12(b)(6) and should be without prejudice

 7    if defects are curable).

 8          57.     Here, discovery in this adversary proceeding is expected to proceed

 9    on the Court’s prior timeline, with a hearing date to adjudicate allowance of

10    Plaintiffs’ claims as asserted in the Complaint tentatively scheduled for June 10,

11    2025. This timeline evidences no undue delay, bad faith or prejudice to the

12    opposing party. To the contrary, this timeline is approximately one year more

13    expedited than the parallel state court proceeding that Plaintiffs have brought

14    against Michael Christ and the other non-Debtor defendants in the State Court

15    Litigation. Furthermore, and as discussed supra, should the court find that

16    Plaintiffs have not pled with sufficient particularity, the ongoing discovery will

17    be critical in providing more particularly to support Plaintiffs’ causes of action.

18    As such, Plaintiffs right to amend the Complaint pursuant to Federal Rules of

19    Bankruptcy Procedure 7015 must be preserved.

20

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 1                                    CONCLUSION

 2          58.     For the foregoing reasons, Plaintiffs respectfully request that the

 3    Court deny the AP Defendants’ Motion to Dismiss in its entirety and permit the

 4    parties to proceed with discovery and a hearing with the Court in June, 2025.

 5     DATED: March 18, 2025.                   ARETE LAW GROUP PLLC

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 1                            CERTIFICATE OF SERVICE

 2          I hereby certify that on this 18th day of March, 2025, a copy of the

 3    foregoing was served electronically upon filing via the ECF system, with copies

 4    being sent to all parties receiving electronic notice herein.

 5
                                                 /s/ Janet C. Fischer
 6                                              Janet C. Fischer
                                                Paralegal
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